Case 1:25-cv-00402-AHA    Document 25-7   Filed 02/18/25   Page 1 of 3




                         EXHIBIT 2
      Case 1:25-cv-00402-AHA         Document 25-7       Filed 02/18/25     Page 2 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 AIDS VACCINE ADVOCACY
 COALITION, et al.,

        Plaintiffs,

 v.                                                Civil Action No. 1:25-cv-00400

 UNITED STATES DEPARTMENT OF
 STATE, et al.

        Defendants.


 GLOBAL HEALTH COUNCIL, et al.,

        Plaintiffs,

 v.
                                                   Civil Action No. 1:25-cv-00402
 PRESIDENT DONALD TRUMP, et al.,

        Defendants.



                      DECLARATION OF THOMAS MACKIN WILLIAMS

I, Thomas Mackin Williams, pursuant to 28 U.S.C. 1746, hereby declare as follows:

       1.     This declaration is based on my personal knowledge and information provided to
me in my official capacity by others.

        2.     I am a Program Associate Director in the Office of Management and Budget and
have been responsible for international programs, including the foreign aid portfolio, since I
joined OMB on January 30, 2025. In my most recent previous government service, I performed
the duties of Deputy Under Secretary of Defense for Policy at the Department of Defense from
2020 to 2021. From 2018 to 2020, I served at the National Security Council as Deputy Assistant
to the President and Senior Director for European Affairs.

      3.      On January 20, 2025, President Trump issued an executive order directing a pause
on “United States foreign development assistance” and requiring agencies to conduct a review of

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      Case 1:25-cv-00402-AHA           Document 25-7         Filed 02/18/25      Page 3 of 3




existing foreign aid programs to determine whether they should be modified or terminated. Exec.
Order No. 14169 § 3(a), 90 Fed. Reg. 8619 (Jan. 20, 2025) (“the Executive Order”). The Executive
Order directed OMB to enforce the pause through its apportionment authority. See id. The
Executive Order further provided that “responsible department and agency heads, in consultation
with the Director of OMB, will make determinations within 90 days of this order on whether to
continue, modify, or cease each foreign assistance program based upon the review
recommendations, with the concurrence of the Secretary of State.” Id. § 3(c).

       4.       I am aware that this Court entered a temporary restraining order (TRO) on February
13, 2025, that enjoins Defendants from taking certain actions relating to foreign assistance funds.

       5.      OMB does not make obligations or disbursements of foreign assistance, with the
exception of funds for Foreign Military Financing, which are obligated upon apportionment by
operation of law. OMB has not exercised the apportionment authority referenced in the second
sentence of § 3(a) of the Executive Order to enforce the pause.

        6.     OMB does not understand the TRO to prevent it from engaging in consultations
required by § 3(c) of the Executive Order. Because the TRO did not “enjoin any aspect of the
Government’s ability to conduct a comprehensive internal review of government programs,” TRO
at 13, OMB intends to continue to consult with department and agency heads regarding whether
to continue, modify, or cease each foreign assistance program pursuant to § 3(c) of the Executive
Order.

       7.     Finally, because OMB is not a party to any contracts, grants, or cooperative
agreements for foreign assistance, OMB has not notified the recipients of existing contracts, grants,
and cooperative agreements for foreign assistance about the TRO.

       I declare that the foregoing is true and correct to the best of my knowledge.



       /s/ Thomas Mackin Williams                                             2/18/2025

       Thomas Mackin Williams                                                 DATE




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